               Case: 1:21-cv-03597 Document #: 36 Filed: 03/09/22 Page 1 of 2 PageID #:167

                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                          Plantiff(s)
                       Charles Hines, individually and on behalf of all others similarly
                                                                            VS.

                                                                                                                     Defendant(s)
                       Proctor.io Incorporated

Case Number:           1:21-cv-03597                              Judge: Jorge L. Alonso


I,    Samuel R. Jackson                                                                                     hereby apply to the Court

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Charles Hines, individually and on behalf of all others similarly situated by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          Date Admitted
        United States District Court of Arkansas, Eastern Division                                                      5/20/2021
          United States District Court of Arkansas, Western Division                                                    5/20/2021




I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes     X             No

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
               Case:
Has the applicant       1:21-cv-03597
                  ever been:                 Document #: 36 Filed: 03/09/22 Page 2 of 2 PageID #:168
sanctioned, censured, suspended, disbarred, or otherwise disciplined by                                              X
any court?                                                                            Yes                    No


or is the applicant currently the subject of an investigation of the                  Yes                    No      X
applicant’s professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the           Yes                    No      X
bar of any court?

                                                                                      Yes                    No     X
denied admission to the bar of any court?

                                                                                      Yes                    No      X
held in contempt of court?
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


03/09/2022                                               S/   Samuel R. Jackson
                 Date                                               Electronic Signature of Applicant

                            Last Name                                 First Name                                     Middle Name/Initial
Applicant’s Name
                           Jackson                                   Samuel                                         Randolph
Applicant’s Law Firm
                           Carney Bates & Pulliam, PLLC
                            Street Address                                                                           Room/Suite Number
Applicant’s Address
                           519 W. 7th St.
                                                                                       Work Phone Number
                            City                        State         ZIP Code         501-312-8500


                           Little Rock AR                            72201             Email Address
                                                                                       sjackson@cbplaw.com


(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar
      permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
      only. Application for such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 11/13/2019
